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EXHIBIT J
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POPE & ASSOCIATES

1445 SPROUL AVENUE, NAPA, CALIFORNIA 94559
Phone 707-255-9378 fax 707-257-2202

FAX MEMORANDUM
Date: April 9,1996
To: Tom Via

Fax: 614-276-247

Fr: Mark S. Pope

Re: Product Launch

# of pages including cover sheet: 19

e =

The comments and or proposed changes to the IPBUDV launch are indicated in bold script. I was
having trouble coping the disk, (Murphys law) so I thought I'd better fax it to you, I'll call you this
morning to discuss your thoughts.

EXHIBIT

Nu,
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IPRATROPIUM UDV'S
Market Overview

The Ipratropium Bromide Unit Dose market was established with the approval, by
Boehringer Ingelheim, of Atrovent Solution UDV in September of 1993. Ipratropium
Bromide is an anti-cholinergic that is used in the treatment of Chronic Occlusive
Pulmonary Disease (COPD). In addition to the UDV, Boehringer Ingelheim has marketed
Ipratropium Bromide in the Metered Dose Inhaler (MDI) as Atrovent MDI since
December, 1986.

Boehringer Ingelheim looses exclusivity on Atrovent Solution UDV in September 1996.
Roxane Laboratories has been examining the market to determine the most effective
method to launch generic Ipratropium Bromide Unit Dose Vials (IBUDV). To date the
following information has been gathered:

According to BIPI, when the Atrovent UDV marketing plan was initially developed,

@ the home health care segment of the market was overlooked. This oversight resulted in
the product’s demand exceeding supply and led to the necessity of compounding by
homecare agencies ho meet demand, Due to the short supply of the product, BIPI
established an allotment system that filled all hospital orders, then wholesalers were
assigned a monthly allotment, if any additional inventory remained the wholesalers
were given the opportunity to purchase additional Atrovent UDV. This system was in
effect until the new RT lines were installed at Roxane, and beginning in October, 1995
the allotments were lifted.

Because of this shortage and allotment system, the IBUDV market is somewhat of an
unknown. The short time period that enough product has been available to meet demand
does not provide a clear picture of where this market is going. On the surface it seems
that sales may be leveling off at the INSERT UNIT SALES HERE unit level per month,
annualized this puts the market at INSERT ANNUAL NUMBER. Duc to this short time
frame for readily available product, market projections were based on rate of growth for
1995, Market projections for 1996 range from 5.2 million units to 3.5 million units. For
our purposes the market has been projected at 4.7 million units for 1996. This was based —
on BIPI unit sales of 2.1 million units in 1995 increased by a rate of 95%.

There has been a wide variety in the estimation of generic capture rate as well. For the
purpose of forecasting a historic model of generic cannibalization was used, showing an

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increasing capture rate reaching 65% after a full 12 months on the market. Previous
estimates have ranged from 50% to 80% for this generic capture rate. Given the
customer interest in another source (other thap BI), a capture rate of 80+ % is not
unrealistic. ,

The forecast was prepared after reviewing the respirat- ry solution market. This review
showed the market in units has increased approximately 50% from 1992 (an average of
17% per year). Most of the growth came in 1993, the 1995 rate of growth is expected to
be around 9%. The primary source of this growth is from UDV, growing at an average
rate of 23% since 1992. UDV growth rate for 1995 is expected to be in the range of
14%. In reviewing the market for IBUDV, the artificial depression of the market due to
supply limitations must be considered, as well as discrepancies between IMS and BIPI
data, BIP1 has informed Roxane that IMS has historically under reported the sales of
Atrovent UDV. 1994 JMS unit sales were 653,000 compared to actual BI unit sales of
1.1 million, IMS under reported by 40 %. The numbers for 1995 appear to be in roughly
the same proportion. This is attributed to the sale of product to direct home health care
accounts that have never been reported to IMS. For this reason the forecast is based on
BIPI units and rate of growth instead of IMS data. It is interesting to note however that
both rates of growth are similar, IMS shows a rate of 88% and BIPT's rate is 95%. It

© should be noted that the market figures may be significantly under estimated, given
the potentially high level of Ipratropium being compounded by large bomecare
pharmacies. Steps to better ascertain compounding volume are being taken, to
better determine the actual market size. It is likely that Roxane could capture a
significant portion of the compounding market, providing the pricing provides a
large enough” spread” to maintain acceptable profit levels.

Potential competitors : Dey Laboratories, Copley, Astra, Warrick, NovaPharm and
Paco.

The single most significant competitor is Dey Labs, they have done an
outstanding job at building strong relationships within this market and will do what
they can to maintain their dominant position. Dey offers a complete product line for
the RT market (including their recent addition of Glaxo's Ventolin MDI) and value
added services, such as their sample fulfillment program, in addition to an incentive
based bundle to try to maintain the loyalty of their customers. Roxane must develop
Similar programs to succeed within this marketplace. Another distinct advantage
Dey offers is a better packaging. Their packages are significantly smaller than BIPI box

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of 25 that we will inherit, With space being at a premium in most of the accounts we
will sell to, Dey will make this a major issue in their sales presentation. Additional
advantages in packaging for Dey are the lack of a foil pouch and the snap off cards of 5
UDVs, making the product more attractive to the end user as well as the distributor.
Roxane has begun working on an improved package that will climinate these
advantages, unfortunately the earliest the package can be changed is the fal) of 1997.
One minor change that will be made now is the addition of a notch in the foil pouch,
making it easier for the pouch to be opened.

It should be noted that Dey has been contacting accounts since early September, 1995 pre-
selling their product as part of a respiratory therapy package. They are offering IBUDV
as part of a bundle at a “basic” price that will be incentivized like all their other products.
Four major buying groups have confirmed this offer; Premier, AMHS, Amerinet and
Purchase Connection. All four of these groups have reported Dey will be shipping late
September.

© Target Market:

The market for generic Ipratropium Bromide Unit Dose Vials (IBUDV) consists of six
classes of trade; 1) Wholesalers 2) Home Healthcare Agencies 3) Warehousing Chains 4)
Mail Order Pharmacies 5) Group Purchasing Organizations (Hospital and Retail) and 6)
Non-warehousing chains. Roxane has extensive experience in selling multi-source
products to all of these classes of trade, except the Homecare market. Therefore, the
majority of pre-launch efforts have been’ spent in analyzing this segment of the market, in
order to obtain a better understanding of how this market works and who the key
homecare agencies are.

Objective:

Capitalize on the narrow window of exclusivity for IBUDV in the targeted markets, while
maintaining a majority of the market share for the Boehringer Ingelheim Corporation. The
financial objective for Roxane is $25 Million in sale for1996.

Forecast:

Unit forecasts were developed based on the assumption, that the total Ipratropium

Bromide UDV market will achieve a level of 4.7 million units of 25, Again, this estimate
could be considerably low depending upon the actual amount of compounding

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it became apparent thet a unit of 30 would be necessary to provide enough flexibility to
adequately service this market. For consistency with BIP! and planning for production
capacity, this forecast was prepared in units of 25 only. All units of 30 will be pulled
from this inventory “pool”, the breakout of units of 25 and units of 30 follow.

|
performed by large home care pharmacies. During the course of developing this plan,

? check #s below
TBUDV Forecast in Units of 25
Year Units
1996 1,169,000
1997 2,475,000
1998 2,720,000
1999 3,035,000
2000 3,120,000
IBUDV Forecast in Units of 25 and Units of 30
© Year Units of 25 Units of 30
1996 824,000 161,000
1997 1,733,000 619,000
1998 1,890,000 675,000
1999 2,125,000 759,000
2000 2,185,000 780,000
Pricing: se
A
q g Pricing’ of the IBUDV will follow the traditional parameters of a generic product.

Specifically, AWP will be brand less 10%, or $44.06 for the 25 count package; WAC will
G 7 £ Lh be AWP less 40%, or $26.44 for the 25 count package. This type of price structure is
¢. used for a generic launch is to create an attractive spread between WAC and AWP,
encouraging accounts to convert from the brand name to the generic product as quickly as
a4 possible. This rapid conversion is necessary in order to protect our position in the market
ge 0.0e a after generic competitors enter the market. It is felt that competitive pressures will
7) ‘ /o C drive large homecare pharmacies to purchase significant volumes of BUVD, once

7“ «~- pricing is driven down to the $,75 - $.80 per vial level.

Once a generic product is being utilized by an account, there is a greater possibility of

meeting competitive challenges through simply matching price. If your product is not
4 being used prior to a competitors launch, other factors (such as breadth of product line,
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bundling, etc.) will be considered and the account may opt for the competitive product. In
a multi-source product launch, one of the most important keys to success is conversion
from the brand to your first to market generic, as early as possible during your period of
exclusivity. Again, this is done through enticing the accounts with an increased spread
between WAC and AWP.,

Wholesalers: will be the first target for Roxane to approach regarding the pending launch
of [BUDV. During the week of April 2, 1996 all national headquarters will be called on in

. person by a National Account Sales Representative, to obtain order entry numbers. On
April 15 an initial stocking order will be solicited from the wholesalers. Whenever
possible a corporate buy in will be sought to ensure wide spread availability of the product
upon launch. In order to fill the pipeline the suggested initial order for Roxane's BUDV
will be equal to two month sales of Atrovent UDV.

To obtain as high a market penetration as possible with the wholesalers, an initial stocking
deal will be offered. {Tie initial stocking deal that will be offered to the wholesalers is 90
ays dating and 5% stocking allowance on their Sree Eee Oat webane
roduct it” will be placed on wholesaler source programs at an additional 10% rebate,

pune the wholesaler price $23.80 after source rebate.

Gr : AK
fe ong As orde? to ensure all wholesalers are stocking the product in all of their distribution
DX centers (DCs), Roxane's Regional Directors (RDs) will personally visit each of the DCs
/ that are within their assigned territory. This visit will take place during the month of May
to secure pre launch orders for all DCs that are not covered by a corporate buy in. Again
the suggested initial order will be two months of each DC's sales of Atrovent UDV.

Key Account Representatives (ARs) will first contact any DC that is not within an
assigned RD territory, or a territory that is uncovered due to tumover in the field. This
initial contact will be to secure the same pre launch order mentioned above. The week
prior to launch the ARs will contact all DCs to reconfirm the order and inform them
product will be shipped within the week.

Shipping and Minimum Order Quantities:

The shipper is a case of 48 units of 25, during the initial launch phase of the product. The
minimum order will be one case. If an order is to be shipped via UPS the maximum
quantity is 5 cases, or 240 units of 25. A pallet of IBUDV shippers is 12 cases, or 576
units. For the first shipment of product to the wholesalers, orders in pallet quantities
should be encouraged. This will allow us to prepare orders in advance and speed,
Objective; have product at wholesaler distribution points, ready for sale on June 3rd.

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Homecare:

BI has not been able to fully address the needs of this market, due to market oversight
and shortage of supply. To assure success, Roxane must concentrate more fully on
developing this market. There are over 13,000 home health care agencies, 3,200 (or
25%) of which are involved with respiratory therapy (RT), 60% (1,920) of these
agencies sell pharmaceuticals. This group of agencies comprise our entire universe of
targets for IBUDV. While the entire universe may consist of nearly 2,000 agencies,
approximately 80% of the business can be accessed through 40 accounts. This list can
be further targeted to the top 6 chain for profit agencies that contribute pearly 50% of
the sales for the total market.

The top six chain homecare agencies that will be targeted are as follows:

1) Apria Health Care Group; Costa Mesa, CA; 350 Branches
$1,100 million in revenues; 55% of business is in RT ($605 million)

2) American Homepatient; Franklin, TN; 204 Branches
$141 million in revenues; 53% of business is in RT ($75 million)

3) Rotech Medical Corp.; Orlando, FL; 275 Branches
$134 million in revenues; 39% of business is in RT ($52 million)

4) NMC Homecare; Waltham, MA; 102 Branches
$330 million in revenues; 13% of business is in RT ($43 million)

5) Pediatric Services of America; Norcross, GA; 80 Branches
$97 million in revenues: 24% of business is in RT ($23 million)

6) Signature Home Care Group: Irving, TX; 21 Branches
$iL0 million in revenues; 9% of business is in RT (310 million)

In order for IBUDV to maximize market share the issue of compounding Ipratropium
powder must be addressed. Compounding rate was around 20% at the launch of
Atrovent UDV, increased to 50 to 80 % during the shortage and is now in the 20 to
50% range. In general, the larger homecare agencies will perform less compounding
Ipratropium once a generic product is available, providing that price and spread
allows for acceptable profitability. The smaller independent agencies are more likely to
be compounding now, and there is 2 greater potential for them to continue to compound

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after the release of Roxane’s IBUDV. For this group of homecare agencies, price will be
the determining factor of whether they convert fom compounding to Roxane's IBUDV.
Compounding costs range from $0.17 to $0.20 per dose, our price will be in the $1.00 per
dose range. Clearly we will not be able to obtain 100% of the compounding market, but
we expect to be able to obtain the larger agencies’ compounding business. Regulatory
and Medicare reimbursement issues will create changes withia this market and a
shake out will most certainly occur.

The following list of accounts are the targets for Roxane, it is estimated that this list of
accounts account for more than 80% of the homecare RT market. It should be noted
that due to the nature of the homecare market it will be very difficult to determine the.
volume of individual accounts or even the volume of the entire RT homecare market.
BIPI estimates are based on IMS under reporting unit sales by 40%, making the total
homecare market for IBUDV approximately 1,000,000 units in 1995. If the same
assumption is made regarding the rate of growth (95%), as was used in developing the
IBUDV forecast, the market for IBUDV in homecare will be in the 2,000,000 unit range
for 1996. This means the following list of targeted homecare agencies should use
approximately 1,600,000 units (25s) of IBUDV in 1996. However, given the lack of
focus or understanding of the Homecare market, this figure may be significantly
under estimated. The more quickly and completely this business is converted to Roxane
IBUDV, the greater the opportunity to maintain the business once additional competitors
enter the market.

| CUSTOMER NAME _ CITY STATE SIZE |
MILNER/RUSHING FLORANCE AL SMALL
HOMECARE

ALABAMA PRESCRIPTION —RAINSVILLE AL LARGE
SVS.

NATIONAL MEDICAL LITTLEROCK AR MEDIUM
RENTALS

LAHR PHARMACY PHOENIX AZ SMALL
VALLEY HOME HEALTH PHOENIX AZ MEDIUM
SVS.

APRIA HOMECARE CAMARILLO CA LARGE
CLAYWORTH PHARMACY CASTRO VLY. CA SMALL
MK MEDICAL FRESNO CA SMALL
CORAM HEALTHCARE DENVER co MEDIUM
HEALTH SCRIPT DENVER co LARGE
COMPUTRX BRIDGEPORT CT SMALL

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FROM : POPE & ASSOCIATES PHONE NO. : 787 257 2202 APR. 9.1996 7:11PM Pg
LINCARE CLEARWATER FL LARGE
ORANGEBELT PHARMACY DELANO FL SMALL
HOMEMED PHARM JACKSONVILLE FL LARGE
SERVICES
RESPIFLOW JACKSONVILLE FL LARGE
PHARMACY FACTORS LARGO FL LARGE
CHEEK & SCOTT LIVE OAK FL MEDIUM
NEBUMED "MIAMI FL MEDIUM
PULMONARY PRESCRIPTION MIAMI FL MEDIUM
RESPIRATORY PHARM. ORLANDO FL SMALL
ROTECH ORLANDO FL LARGE
TOTAL PARENTAL PENSICOLA FL MEDIUM
SERVICES
HEALTH MEDS QUINCY FL MEDIUM
MEDICATIONS PLUS QUINCY FL MEDIUM
ADAM MEDICAL SERVICES TAMPA FL SMALL
MP TOTAL CARE TAMPA FL LARGE
WEST SHORE PHARMACY TAMPA FL SMALL

6 WELAKA PHARMACY WELAKA FL MEDIUM
PEDIATRIC SVS. OF ATLANTA GA LARGE
AMERICA
OPTION CARE BOISE ID SMALL
OPTION CARE BANNOCKBUAN IL
METHODIST HOME CARE INDIANAPOLIS IN
SPECTRACARE, INC. LOUISVILLE KY
PULMODOSE/ROTECH PADUCAH KY LARGE
AMCARE MEDICAL NEWTON MA SMALL
NMC HOMECARE WALTHAM MA
BINSON'S HOMECARE CENTERLINE MI SMALL
WHITE & WHITE GRAND RAPIDS Mi MEDIUM
COMFORTCARE OF TROY Mi SMALL
MICHIGAN
STA-HOME HEALTH JACKSON MS
AGENCY
LUTHERAN HEALTH SVS. FARGO ND SMALL
TRANSWORLD HOMECARE CLARK NJ LARGE
HI-TECH HEALTHCARE LAS VEGAS NV MEDIUM
MEDICINE SHOPPE CANANDIAGUA NY SMALL
OXYMED HUNINGTON NY SMALL
WASSEROTT'S LUZERNE PA SMALL

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UNITED HEATHCARE PHILADELPHIA PA SMALL
SERVICES
LIBERTY HOME HEALTH SPRINGFIELD PA SMALL
CARE
HOMECARE USA TREVOSE PA
MEDICAL SVS. OF AMERICA COLUMBIA sc SMALL
AMERICAN HOME PATIENT BRENTWOOO TN LARGE
P & P PHARMACY HENDERSONVIL T™N SMALL
LE .
MESSICK PHARMACY MURFRESBORO TN MEDIUM
PROMED SERVICES AMARILLO TX LARGE
SPECIALIZED PHARM. BEAUMONT T™ MEDIUM
SERVICE
COLUMBIA HOMECARE DALLAS TX MEDIUM
HEALTHCORE HOLDINGS DALLAS TX MEDIUM
SIGNATURE HEALTHCARE DALLAS T™ MEDIUM
A & R MEDICAL FORT WORTH TX MEDIUM
ACCURATE MEDICAL FORT WORTH TX MEDIUM
SYMPHONY HOMECARE IRVING TX
INTERWEST HOME SALT LAKE UT
MEDICAL CITY
MEDMARCO, INC. SALT LAKE UT
CITY
WASEM’S DRUG CLARKSTON WA SMALL
EVERGREEN RESPIRATORY KIRKLAND WA LARGE
STEIN HOME MEDICAL MADDISON WI SMALL
HOMECARE MEDICAL, INC. MILWAUKEE WI

In order to more fully develop and define Roxane's target universe in the homecare
market, a retail outlet report for Atrovent has been ordered from IMS. This report will
rank retail outlets (including larger homecare agencies) by deciles in dollar volume. This
report will also include the Atrovent MDI for the purpose of targeting potential customers
that would be interested in an JBUDV and MDI bundle.

The first objective for the home health care market is to alert the accounts of the
availability of a generic IBUDV from Roxane. This will be accomplished through a letter
to all the targeted accounts, and SMG's list for homecare and DME providers. The
notification will be in the form of a letter from Jerry Walsh announcing the pending launch

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and a sel] sheet with a BRC will be enclosed. The BRC will offer the account the option
of placing their initial order or requesting a representative contact them once the product
is available. This mail program will be done with the intent of notifying this class of
account that there will soon be a generic IBUDV available and compounding will no
longer be necessary.| Due to regulatory issues with the FDA many accounts will stop
compounding Ipratropium,

Contracts:

Contracts will be two -three years in duration, they must be structured in such a way that
the account will “carve out” IBUDV from any bundle that Dey Laboratories offers. This
tactic has been employed by Dey in the past, very effectively, prior to the launch of their
Albuterol UDV. This will require pricing IBUDV competitively from the beginning and
possibly bundling the BUDV with the IB MDI The contracts will be written with the first
right of refusal clauge written into it, allowing Roxane to meet any price that future
competitors may offgr. In addition to the contract, the loyalty bonus will be utilized to
ensure the accounts will continue to purchase our IBUDV after competitive products are
launched. Since the Ipratropium Bromide MD] may be available sometime in 1996, it

© should be included in the loyalty bonus. No administration fee will be paid to GPOs on
the loyalty bonus.

Bundling:

On the surface offering a bundle of Roxane RT products does not look attractive to our
customers, The products that are available to bundle are; Isoetharine Inhalation Solution,
Sodium Chloride Inhalation Solution, Metaproterenol Sulfate Inhalation Solution, and
Acetylcystine Solution. None of these products are considered blockbuster products and
more than likely would not sway an account to use our IBUDV if they were not going to
use it already. It is unlikely that any real or perceived benefit will be derived by
attempting to bundle the prevoiusly mentioned products. Rather, they should be
dealt with on a case by case basis.

Duc to the lack of any other RT product being available at the launch of IBUDV, no
bundle will be offered initially. Once the MDI is available, we will be able to create a
bundle around the combination of the two products and will the be able to include the
remainder of our RT line. The addition of an MDI makes Roxane more attractive to
them and demonstrates Roxane’s commitment to the RT market. Additionally, it

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should be noted that approximately 80% of homecare nebulizer patients also use
MDi{s and many homecare pharmacies realize additiona) revenues through MDI
sales.

Sales Resource Requirements:
Personnel:

The homecare market will be serviced by the National Accounts sales force. Initially, this

will require the addition of two National Account Representatives to the sales force, .
bringing the total National Account Sales Force to a total of 9 representatives. The
additional headcounts will be placed in markets with the highest penetration of homecare,

the first position to be filled likely wil] be in the Florida market. In order to effectively

manage the field force, a field manager will be required. The field manager will aid the

Director of National Accounts in the training, supervising and hiring of personnel.
Additionally, this manager would provide market information that would aid in developing
promotional programs for multi-source products with the Director of National Accounts.

The Key Account Representatives will be servicing this market from the home office. The
account representatives will contact the targeted homecare agencies within their assigned
territorics through regular phone calls. The purpose of these calls will be to keep a
constant supply of IBUDV being shipped into the accounts and to keep a constant supply
of information coming in from these accounts. -

Material:

In order for Roxane to service this market effectively, IBUDV will need to be sampled.
This can be done in one of two ways: The first would be for Roxane to ship up to 2% of
total unit sales volume to the homecare agency. The homecare agency would then be
responsible for distribution of the samples to the physicians that refer patients to them.
The agency would be responsible for administering the program and maintaining all
records for the program. This option will not appeal to all homecare agencies, as the cost
of administering this program will decrease their margin on IBUDV. The second option
would be for Roxane to supply the same maximum 2% of unit sales for sampling, with
Roxane administering the program for the homecare agencies. This will appeal to a wider
segment of the market, but would be very difficult for Roxane to manage in house. The

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best solution would be to out source this type of program to a fulfillment house that would
maintain inventories and manage the records for the program. Both options should be
made available to these accounts in order to meet their needs.

Sales Policy

Roxane must always consider it's relationship with the buying groups when selling direct
to the homecare agencies. By selling direct to these agencies we nun the risk of alienating
the GPOs, so all direct sales must be sold through the GPO contract. This will enable the
homecare agency to avoid the wholesaler up charge and will still keep the business at the
GPO. For this reason it is very important to determine which, if any, of buying groups
these agencies belong to. This information will be obtained by the National Account
Representatives during their sales calls The representatives will then forward that
information to the home office, through the Director of National Accounts. The payment
of administration fees can sometimes be used a negotiating chip with other products.
This may be done on a case by case basis. In the case of DEY LABS and PBI, Dey
pays 100% (3%) of the admin. fee and honors all trade classes equally.

Direct accounts:

Direct accounts will be needed in order to service this market, The National Accounts
Customer Service Representatives and Roxane's Controller will establish direct accounts
prior to the launch of the product, as the National Account Representatives begin signing
contracts with the homecare agencies.” This will be a new class of trade and new customer
codes for this type of customer will be created. There may be as many as 500 accounts
seeking to open direct accounts. Typically, many homecare pharmacies prefer to
purchase directly from the manufacturer. Although this situation is not ideal from
the manufactures view, it remains a reality.

SWOT in the Homecare Market
S- 4 months head start; Proprietary product at generic price

W- Single product; BIPI connection, customer base anti-Boehringer,
Packaging, foil pouch, box and vial; Market knowledge

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O- Product expansion, MDI, Albuterol, Cromolyn Sodium;
Alliances exploring Paco deal and possibly RPR, ALP and RCI

T- Price erosion, to the $8.00 to $10.00 range as more competitors
enter the market; New competitors, Dey, Astra, Zenith,
NovaPharm; Medicare reimbursement change; will happen, major
shakeout will occur could result in an opportunity for the MDI, but
it could severely reduce IBUDV sales.

Promotiona! Programs:
Mail program to announce the product, journal ads, wholesaler promotions (phone and or

source programs), PharmAlerts, Under the door introduction pieces at up coming
Trade Shows. ASCP & ASHP

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FROM : POPE & ASSOCIATES PHONE NO. : 78? 257 2202 APR. 9.1996 7:14AM P15

Plan Of Action for Homecare:

The plan of action for IBUDV in the homecare market is to contact the targeted accounts
during the third week of April to announce the upcoming product launch. During this
time the National Accounts sales force will sign the accounts to a two-three year contract
offering a competitive price for IBUDV. The contract will include a first right of refusal
clause. By offering the Loyalty Bonus to these accounts we should be able ta maintain the
business upon competition entering the market. The loyalty bonus will be offered to
accounts that purchase JBUDV at two different levels, 3% and 5%. To be eligible for the
5% bonus the account will need to purchase all of Roxane's RT product line, the 3%
loyalty bonus will be paid to any account that purchases the TBUDV (and later MDI will
be included). This bonus will be earned and paid in three equal amounts over three
quarters following the quarter of purchase, provided cligibility requirements are
maintained. Bonus earings and payments shall cease beginning with the quarter that
eligibility requirements are not met. In other words, any accrued bonus will not be paid if
the account switches to a competitive product. The accounts will carve out IBUDV from
any bundle that Dey offers in order to receive the loyalty payout. The hope is that, Dcy
Laboratories will not risk loosing their RT franchise by insisting the accounts purchase
their IBUDV.

The National Account Representatives will ty to secure the first order at the time the
contracts are signed. [fF that is not possible, the Key Account Representatives will follow
up with phone calls to secure the initial order. The goal is to have 100% of the targeted
homecare accounts signed and initial orders in house a minimum of two weeks prior to
launch. The initial orders will be shipped out May 31, 1996, product should reach all
accounts on the first business day of June (June 3, 1996). Follow up with all accounts
during the first two weeks of June will be necessary to help the accounts determine the
proper level of inventory to keep on hand.

Here too, the issue of minimum order quantities and shipping should be addressed. The
shipper is a case of 48 units of 25, during the initial launch phase of the product the
minimum order will be one case. If an order is to be shipped via UPS the maximum
quantity is 5 cases, or 240 units of 25. A pallet of IBUDV shippers is 12 cases, or 576
units.

For the first shipment of product to the top six chain homecare agencies, orders in pallet
quantities should be encouraged. This will allow us to prepare orders in advance and
speed delivery to the customer. Our objective is to have product to direct account
homecare agencies on Junc 3, the first business day of the month. All direct account

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homecare agencies initial minimum order will be one case (48 units of 25), regardless of
the size of the agency. Any account wishing to order Iess than one case will need to order
through their wholesaler.

Warehousing Chains:

The National Accounts Sales Force will begin contacting the warehousing chains during
the week of April 15, 1996. Much of the strategies and activities of the National Account
Sales Force will be the same as in the wholesalers. Specific items related to pricing and
minimum orders follow.

Pricing of the IBUDV will need to follow the traditional parameters of a generic product,
just as in the wholesalers. Specifically, AWP will be brand less 10%, or $44.06 for the 25
count package, WAC will be AWP less 40%, or $26.44 for the 25 count package. In
order to achieve acceptance of this product by the warehousing chains an additional 10%
rebate will be required, bringing the warehousing chain price to $23.80 after rebate. The
reason for this type of price structure was explained in detail earlier in the price section of
the plan. In order to obtain as high a market penetration as possible with the warehousing
chains, an initial stocking deal will be offered. The initial stocking deal that will be offered
to the warehousing chains is 90 days dating and 5% stocking allowance on their first
order.

With the warehousing chains the issue Of minimum order quantities and shipping should be
less problematic than with the other classes of trade. The warehousing chains will be
requested to order their initial shipment of IBUDV in the 576 unit pallet quantities. This
will allow us to prepare orders in advance and speed delivery to the customer. Our
objective is to have product to warehousing chains on June 3, the first business day of the
month,

Experience has taught Roxane, that with this class of customer, perhaps more than with
any other class of customer, being first into their warehouses is vital to be successful with
a multi-source product. Once our product is in their warehouse, the competition will find
it difficult to displace us. This is true for a variety of reasons,the two biggest reasons are:
1) The chains don't want to change and cause possible confusion in their stores . 2) We are
able to match competitive price challenges to keep the product on the shelf. One
potential problem that may arise is the size of the package. As stated earlier, Dey offers a
much smaller package that they will try to exploit to get the business.

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Hospital GPOs

In order to capitalize on the success of BI within this market, Roxane wil] need to extend
contract pricing to all GPOs. These offers will be offered in mid April, 1996, at a price
40% below wholesale. The National Account Representatives and Account Reps will
follow up for additions to contracts These contracts will have an effective start date of
June 1, 1996. All component markets of the GPOs will be eligible for this contract
pricing. The most notable component market for this product is the home health care
market.

Beginning April TO BE DETERMINED the National Account sales force will contact
the GPOs to which they are assigned. Over the course of a two week period all major
GPOs will have been contacted and offered contracts similar to the homecare contracts.
These will be written with the first right of refusal clause and will be two years in length
The Key Account Representatives will follow up with the GPOs until the product has been
added to their contracts. The goal is to have ail of the major hospital GPOs signed by the
second week in May. This is the point at which the Hospital Account Representatives will
@ begin contacting their assigned hospital targets to secure orders.

The Regional directors will begin sales activities in their targeted hospital accounts the
first week of May. Initially the RDs will concentrate on accounts that belong to buying
groups that have added IBUDV to their contracts. Again the target for all groups having
added the product to their contracts is the second week in May, at which point the RDs
will be free to call on all targeted accounts. _

Sales Personnel Requirements

National Account Representatives will be responsible for presenting contracts to all
Hospital GPOs and securing the addition of IBUDV to these contracts. As mentioned
above this process will begin during the week of April TO BE DETERMINED.

Retail Account Representatives will be responsible for following up with the GPOs to
ensure the contracts are indeed signed. The ARs will be responsible for having all
Hospital GPOs signed by the second week of May. This will allow the Regional Directors
and Hospital Account Representatives to begin selling to their hospital accounts beginning
the first week of May.

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FROM : POPE & ASSOCIATES PHONE NO. :° 78? 257 2202 APR. 9.1996 7:16AM Pig

Regional Directors will be responsible for selling IBUDV into their targeted hospital
accounts beginning the first week in May, 1996. The Hospital Account Representatives
will begin selling into their accounts during the second week of May.

Hospitals

In osder to expand the total market for IBUDV, BI will continue to promote Atrovent
UDV through at least September, 1996. The current targets for their sales call are
centered on the ER and RT departments. It will continue to be the responsibility if the BI
sales force to promote the use of Atrovent, the Roxane sales force will not be responsible
for detailing physicians on this product The Roxane sales force will be responsible for
gaining conversion of Atrovent business to IBUDV. This will be accomplished through
sales calls to pharmacy and the Respiratory Therapy Department, emphasizing that this
product is the same as Atrovent at a lower cost to the institution. The pharmacy call will
also be a profiling call to ascertain who else is ordering and stocking Atrovent within the
hospital.

A hospital outlet report for IBUDV has been ordered that will rank all hospitals by deciles
in dollar volume, as well as showing actual sales in dollars. This report will come in
electronic format so it can be manipulated to provide the date either by state or by
territory. This list will be utilized by the Regional Directors to target the larger hospital
accounts within their territories. Upon targeting the top accounts in their territories the
RDs will begin calling on the key decision makers for RT product purchases to make them
aware of the pending launch of IBUDV. Upon notification of their hospital accounts’
buying group signing a contract for IBUDV thé RDs will secure initiz] stocking orders for
their targeted accounts.

The IMS hospital outlet report will also be utilized by the Hospital Account
Representatives for targeting within their assigned territories. Beginning the week of May

13, 1996 the Account Representatives will contact their targeted hospitals to begin taking
initial orders from the accounts.

SWOT in The Hospital Market

S- Bundling opportunity
Contract in place on other products

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Pharmacy relations

No presence in RT
Limited RT product Line

Broaden RT line
Alliances

Price erosion
New Competition

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